      Case 5:24-cv-00004-MTT Document 1 Filed 01/03/24 Page 1 of 12




                                     UNITED STATES DISTRICT COURT
1
                                      MIDDLE DISTRICT OF GEORGIA
2

3      SHACORIA HENDERSON,                                  Case No.: 5:24-cv-4
4                 Plaintiff,
                                                            Complaint for Damages:
5      v.                                                        Violation of Fair Credit
                                                                 Reporting Act
6
       NATIONAL CREDIT ADJUSTERS,
7
       LLC; EXPERIAN INFORMATION
8      SOLUTIONS, INC.; EQUIFAX
       INFORMATION SERVICES, LLC, and
9      TRANSUNION, LLC,
10
                  Defendants.
11
             Plaintiff, ShaCoria Henderson, by and through undersigned counsel, upon
12
      information and belief, hereby complains as follows:
13
                                       I.             INTRODUCTION
14
             1.        This action arises out of Defendants’ violations of the Fair Credit Reporting
15
      Act (“FCRA”) whereby Plaintiff discovered inaccurate information reporting on her
16
      consumer credit reports, disputed that inaccurate information, and Defendants willfully
17
      or negligently refused to correct the inaccurate information on Plaintiff’s consumer
18
      credit report, damaging Plaintiff.
19

20
                                             II.        PARTIES
21
             2.        Plaintiff is, and was at all times hereinafter mentioned, a resident of the
22
      County of Butts, Georgia.
23
             3.        At all times pertinent hereto, Plaintiff was a “consumer” as that term is
24
      defined by 15 U.S.C. §1681a(3).
25
             4.        Defendant, National Credit Adjusters, LLC (“NCA”) is and at all times
26
      relevant hereto was, a lending institution regularly doing business in the State of Georgia.
27
             5.        At all times pertinent hereto, Defendant NCA is a “person” as that term is
28

     Henderson v. National Credit Adjusters, et al.     1                                COMPLAINT
      Case 5:24-cv-00004-MTT Document 1 Filed 01/03/24 Page 2 of 12




1     defined in 15 U.S.C. §1681a(b) and also a “furnisher” of credit information as that term
2     is described in 15 U.S.C. §1681s-2 et seq.
3            6.      Defendant NCA was at all relevant times engaged in the business of
4     attempting to collect a “debt” from Plaintiff, as defined by 15 U.S.C. § 1692a(5).
5            7.      Defendants NCA is a “debt collector” as defined by 15 U.S.C. § 1692a(6).
6            8.      Defendant Experian Information Solutions, Inc. is a corporation existing
7     under the laws of Georgia.
8            9.      Defendant, Experian Information Solutions, Inc. (“Experian”), is a credit
9     reporting agency, licensed to do business in Georgia.
10           10.     Defendant Experian is, and at all times relevant hereto was, regularly doing
11    business in the State of Georgia.
12           11.     Experian is regularly engaged in the business of assembling, evaluating, and
13    disbursing information concerning consumers for the purpose of furnishing consumer
14    reports, as defined in 15 U.S.C. §1681a(d), to third parties.
15           12.     Experian furnishes such consumer reports to third parties under contract for
16    monetary compensation.
17           13.     At all times pertinent hereto, Defendant Experian was a “person” and
18    “consumer reporting agency” as those terms are defined by 15 U.S.C. §1681a(b) and (f).
19           14.     Defendant, Equifax Information Services, LLC (“Equifax”), is a credit
20    reporting agency, licensed to do business in Georgia.
21           15.     Defendant Equifax is, and at all times relevant hereto was, regularly doing
22    business in the State of Georgia.
23           16.     Equifax is regularly engaged in the business of assembling, evaluating, and
24    disbursing information concerning consumers for the purpose of furnishing consumer
25    reports, as defined in 15 U.S.C. §1681a(d), to third parties.
26           17.     Equifax furnishes such consumer reports to third parties under contract for
27    monetary compensation.
28           18.     At all times pertinent hereto, Defendant Equifax was a “person” and

     Henderson v. National Credit Adjusters, et al.   2                               COMPLAINT
      Case 5:24-cv-00004-MTT Document 1 Filed 01/03/24 Page 3 of 12




1     “consumer reporting agency” as those terms are defined by 15 U.S.C. §1681a(b) and (f).
2            19.     Defendant, TransUnion, LLC (“TransUnion”), is a credit reporting agency,
3     licensed to do business in Georgia.
4            20.     Defendant TransUnion is, and at all times relevant hereto was, regularly
5     doing business in the State of Georgia.
6            21.     TransUnion is regularly engaged in the business of assembling, evaluating,
7     and disbursing information concerning consumers for the purpose of furnishing
8     consumer reports, as defined in 15 U.S.C. §1681a(d), to third parties.
9            22.     TransUnion furnishes such consumer reports to third parties under contract
10    for monetary compensation.
11           23.     At all times pertinent hereto, Defendant TransUnion was a “person” and
12    “consumer reporting agency” as those terms are defined by 15 U.S.C. §1681a(b) and (f).
13

14                             III.          JURISDICTION AND VENUE
15           24.     This Court has jurisdiction over this action pursuant to 15 U.S.C. §1681p,
16    15 U.S.C. §1692k(d), and 28 U.S.C. §1331.
17           25.     Venue is proper in this district pursuant to 28 U.S.C. §1391(b).
18           26.     Personal jurisdiction exists over Defendants as Plaintiff resides in Georgia,
19    Defendants have the necessary minimum contacts with the state of Georgia, and this suit
20    arises out of specific conduct with Plaintiff in Georgia.
21                               IV.          FACTUAL ALLEGATIONS
22           27.     Plaintiff is a consumer who is the victim of inaccurate reporting by
23    Defendants NCA, Experian, Equifax and TransUnion (collectively, “Defendants”), and
24    has suffered particularized and concrete harm.
25           28.     Equifax, Experian and TransUnion are the three largest consumer reporting
26    agencies (“CRAs”) as defined by 15 U.S.C. §1681a(f).
27           29.     The CRAs’ primary business is the sale of consumer reports (commonly
28    referred to as “credit reports”) to third parties and consumers.

     Henderson v. National Credit Adjusters, et al.   3                                 COMPLAINT
      Case 5:24-cv-00004-MTT Document 1 Filed 01/03/24 Page 4 of 12




1            30.     Experian, Equifax and TransUnion have a duty, under the FCRA, to follow
2     reasonable procedures to ensure that the consumer reports they sell meet the standard of
3     “maximum possible accuracy.” 15 U.S.C. §1681e(b).
4            31.     Plaintiff discovered the NCA account # last four AC29 on her Equifax,
5     Experian, and TransUnion consumer reports in error (the “Account”), purporting to
6     collect for the original creditor Kendall Bank.
7            32.     Plaintiff completed a Federal Trade Commission Identity Theft Report,
8     under penalty of perjury, reporting the fraudulent information associated with the
9     Account for investigation and prosecution.
10           33.     The Defendants continue erroneously to report the Account with balance
11    due and owing inclusive of late fees and penalties, and a derogatory status to Experian,
12    Equifax and TransUnion which are CRAs and which report accounts on Plaintiff’s
13    consumer reports that do not belong to the Plaintiff.
14           34.     The false information regarding the Account appearing on Plaintiff’s
15    consumer reports harms the Plaintiff because it does not accurately depict Plaintiff’s
16    credit history and creditworthiness and overstates credit utilization.
17                                    PLAINTIFF’S WRITTEN DISPUTE
18           35.     On or about October 27, 2023, Plaintiff sent a written dispute to Equifax
19    (“Equifax Dispute”), disputing the inaccurate information regarding the Account
20    reporting on Plaintiff’s consumer report.
21           36.     On or about October 27, 2023, Plaintiff sent a written dispute to Experian
22    (“Experian Dispute”), disputing the inaccurate information regarding Account reporting
23    on Plaintiff’s consumer report.
24           37.     On or about October 27, 2023, Plaintiff sent a written dispute to TransUnion
25    (“TransUnion Dispute”), disputing the inaccurate information regarding the Account
26    reporting on Plaintiff’s consumer reports.
27           38.     Upon information and belief, Equifax, Experian and TransUnion forwarded
28    Plaintiff’s Disputes (collectively the “Dispute Letters”) to Defendant NCA.

     Henderson v. National Credit Adjusters, et al.   4                               COMPLAINT
      Case 5:24-cv-00004-MTT Document 1 Filed 01/03/24 Page 5 of 12




1            39.     Upon information and belief, NCA received notification of Plaintiff’s
2     Dispute Letters from Equifax, Experian, and TransUnion.
3            40.     Upon information and belief, NCA verified the erroneous information
4     associated with the Account to Equifax, Experian, and TransUnion.
5            41.     NCA failed to conduct an investigation, contact Plaintiff, contact third-
6     parties, or review underlying account information with respect to the disputed
7     information and the accuracy of the Account.
8            42.     Equifax, Experian, and TransUnion each did not conduct an investigation,
9     contact Plaintiff, contact third-parties, or review underlying account information with
10    respect to the disputed information and the accuracy of the Account.
11           43.     Upon information and belief, NCA failed to instruct Equifax, Experian, and
12    TransUnion to remove the false information regarding the Account reporting on
13    Plaintiff’s consumer reports.
14           44.     Equifax, Experian, and TransUnion employed an investigation process that
15    was not reasonable and did not remove the false information regarding the Account
16    identified in Plaintiff’s Dispute Letters.
17           45.     At no point after receiving the Dispute Letters did NCA, Equifax, Experian,
18    or TransUnion communicate with Plaintiff to determine the veracity and extent of
19    Plaintiff’s Dispute Letters.
20           46.     Equifax, Experian, and TransUnion relied on their own judgment and the
21    information provided to them by NCA rather than grant credence to the information
22    provided by Plaintiff.
23           47.     The Plaintiff was denied credit and/or refrained from needed credit
24    applications due to the erroneous information associated with the Account.
25           48.     Plaintiff has lost time working to resolve the adverse information associated
26    with the Account to prevent harm.
27

28                                           COUNT I – EXPERIAN

     Henderson v. National Credit Adjusters, et al.   5                                COMPLAINT
      Case 5:24-cv-00004-MTT Document 1 Filed 01/03/24 Page 6 of 12




1                  FAIR CREDIT REPORTING ACT VIOLATION – 15 U.S.C. §1681e(b)
2            49.     Plaintiff re-alleges and reaffirms the above paragraphs 1-48 as though fully
3     set forth herein.
4            50.     After receiving the Experian Dispute, Experian failed to correct the false
5     information regarding the Account reporting on Plaintiff’s Experian consumer report.
6            51.     Defendant Experian violated 15 U.S.C. §1681e(b) by failing to establish or
7     to follow reasonable procedures to assure maximum possible accuracy in the preparation
8     of the credit reports and credit files Defendant Experian published and maintained
9     concerning Plaintiff.
10           52.     As a result of this conduct, action and inaction of Defendant Experian,
11    Plaintiff suffered damage, and continues to suffer, actual damages, including economic
12    loss, damage to reputation, emotional distress, and interference with Plaintiff’s normal
13    and usual activities for which Plaintiff seeks damages in an amount to be determined by
14    the trier of fact.
15           53.     Defendant Experian‘s conduct, action, and inaction were willful, rendering
16    Defendant Experian liable to Plaintiff for punitive damages pursuant to 15 U.S.C.
17    §1681n.
18           54.     In the alternative, Defendant Experian was negligent, entitled Plaintiff to
19    recover damages under 15 U.S.C. §1681o.
20           55.     Plaintiff is entitled to recover costs and attorneys’ fees from Defendant
21    Experian, pursuant to 15 U.S.C. §1681n and/or §1681o.
22

23                                          COUNT II – EXPERIAN
24                  FAIR CREDIT REPORTING ACT VIOLATION – 15 U.S.C. §1681i
25           56.     Plaintiff re-alleges and reaffirms the above paragraphs 1-48 as though fully
26    set forth herein.
27           57.     After receiving the Experian Dispute, Experian failed to correct the false
28    information regarding the Account reporting on Plaintiff’s Experian consumer report.

     Henderson v. National Credit Adjusters, et al.   6                               COMPLAINT
      Case 5:24-cv-00004-MTT Document 1 Filed 01/03/24 Page 7 of 12




1            58.      Defendant Experian violated 15 U.S.C. §1681i by failing to delete
2     inaccurate information in Plaintiff’s credit files after receiving actual notice of such
3     inaccuracies, by failing to conduct lawful reinvestigations, and by failing to maintain
4     reasonable procedures with which to filter and verify disputed information in Plaintiff’s
5     credit files.
6            59.      As a result of this conduct, action and inaction of Defendant Experian,
7     Plaintiff suffered damage, and continues to suffer, actual damages, including economic
8     loss, damage to reputation, emotional distress and interference with Plaintiff’s normal
9     and usual activities for which Plaintiff seeks damages in an amount to be determined by
10    the trier of fact.
11           60.      Defendant Experian‘s conduct, action, and inaction were willful, rendering
12    Defendant liable to Plaintiff for punitive damages pursuant to 15 U.S.C. §1681n.
13           61.      In the alternative, Defendant Experian was negligent, entitling Plaintiff to
14    recover damages under 15 U.S.C. §1681o.
15           62.      Plaintiff is entitled to recover costs and attorneys’ fees from Defendant
16    Experian pursuant to 15 U.S.C. §1681n and/or §1681o.
17

18                                          COUNT III – EQUIFAX
19                 FAIR CREDIT REPORTING ACT VIOLATION – 15 U.S.C. §1681e(b)
20           63.      Plaintiff re-alleges and reaffirms the above paragraphs 1-48 as though fully
21    set forth herein.
22           64.      After receiving the Equifax Dispute, Equifax failed to correct the false
23    information regarding the Account reporting on Plaintiff’s Equifax consumer report.
24           65.      Defendant Equifax violated 15 U.S.C. §1681e(b) by failing to establish or
25    to follow reasonable procedures to assure maximum possible accuracy in the preparation
26    of the credit reports and credit files Defendant Equifax published and maintained
27    concerning Plaintiff.
28           66.      As a result of this conduct, action and inaction of Defendant Equifax,

     Henderson v. National Credit Adjusters, et al.   7                                COMPLAINT
      Case 5:24-cv-00004-MTT Document 1 Filed 01/03/24 Page 8 of 12




1     Plaintiff suffered damage, and continues to suffer, actual damages, including economic
2     loss, damage to reputation, emotional distress, and interference with Plaintiff’s normal
3     and usual activities for which Plaintiff seeks damages in an amount to be determined by
4     the trier of fact.
5            67.     Defendant Equifax’s conduct, action, and inaction were willful, rendering
6     Defendant Equifax liable to Plaintiff for punitive damages pursuant to 15 U.S.C. §1681n.
7            68.     In the alternative, Defendant Equifax was negligent, entitled Plaintiff to
8     recover damages under 15 U.S.C. §1681o.
9            69.     Plaintiff is entitled to recover costs and attorneys’ fees from Defendant
10    Equifax, pursuant to 15 U.S.C. §1681n and/or §1681o.
11

12                                          COUNT IV – EQUIFAX
13                  FAIR CREDIT REPORTING ACT VIOLATION – 15 U.S.C. §1681i
14           70.     Plaintiff re-alleges and reaffirms the above paragraphs 1-48 as though fully
15    set forth herein.
16           71.     After receiving the Equifax Dispute, Equifax failed to correct the false
17    information regarding the Account reporting on Plaintiff’s Equifax consumer report.
18           72.     Defendant Equifax violated 15 U.S.C. §1681i by failing to delete inaccurate
19    information in Plaintiff’s credit files after receiving actual notice of such inaccuracies,
20    by failing to conduct lawful reinvestigations, and by failing to maintain reasonable
21    procedures with which to filter and verify disputed information in Plaintiff’s credit files.
22           73.     As a result of this conduct, action and inaction of Defendant Equifax,
23    Plaintiff suffered damage, and continues to suffer, actual damages, including economic
24    loss, damage to reputation, emotional distress and interference with Plaintiff’s normal
25    and usual activities for which Plaintiff seeks damages in an amount to be determined by
26    the trier of fact.
27           74.     Defendant Equifax’s conduct, action, and inaction were willful, rendering
28    Defendant liable to Plaintiff for punitive damages pursuant to 15 U.S.C. §1681n.

     Henderson v. National Credit Adjusters, et al.   8                               COMPLAINT
      Case 5:24-cv-00004-MTT Document 1 Filed 01/03/24 Page 9 of 12




1            75.     In the alternative, Defendant Equifax was negligent, entitling Plaintiff to
2     recover damages under 15 U.S.C. §1681o.
3            76.     Plaintiff is entitled to recover costs and attorneys’ fees from Defendant
4     Equifax pursuant to 15 U.S.C. §1681n and/or §1681o.
5

6                                         COUNT V – TRANSUNION
7                  FAIR CREDIT REPORTING ACT VIOLATION – 15 U.S.C. §1681e(b)
8            77.     Plaintiff re-alleges and reaffirms the above paragraphs 1-48 as though fully
9     set forth herein.
10           78.     After receiving the TransUnion Dispute, TransUnion failed to correct the
11    false information regarding the Account reporting on Plaintiff’s TransUnion consumer
12    report.
13           79.     Defendant TransUnion violated 15 U.S.C. §1681e(b) by failing to establish
14    or to follow reasonable procedures to assure maximum possible accuracy in the
15    preparation of the credit reports and credit files Defendant TransUnion published and
16    maintained concerning Plaintiff.
17           80.     As a result of this conduct, action and inaction of Defendant TransUnion,
18    Plaintiff suffered damage, and continues to suffer, actual damages, including economic
19    loss, damage to reputation, emotional distress, and interference with Plaintiff’s normal
20    and usual activities for which Plaintiff seeks damages in an amount to be determined by
21    the trier of fact.
22           81.     Defendant TransUnion‘s conduct, action, and inaction were willful,
23    rendering Defendant TransUnion liable to Plaintiff for punitive damages pursuant to 15
24    U.S.C. §1681n.
25           82.     In the alternative, Defendant TransUnion was negligent, entitled Plaintiff to
26    recover damages under 15 U.S.C. §1681o.
27           83.     Plaintiff is entitled to recover costs and attorneys’ fees from Defendant
28    TransUnion, pursuant to 15 U.S.C. §1681n and/or §1681o.

     Henderson v. National Credit Adjusters, et al.   9                                COMPLAINT
      Case 5:24-cv-00004-MTT Document 1 Filed 01/03/24 Page 10 of 12




1

2                                         COUNT VI – TRANSUNION
3                     FAIR CREDIT REPORTING ACT VIOLATION – 15 U.S.C. §1681i
4            84.      Plaintiff re-alleges and reaffirms the above paragraphs 1-48 as though fully
5     set forth herein.
6            85.      After receiving the TransUnion Dispute, TransUnion failed to correct the
7     false information regarding the Account reporting on Plaintiff’s TransUnion consumer
8     report.
9            86.      Defendant TransUnion violated 15 U.S.C. §1681i by failing to delete
10    inaccurate information in Plaintiff’s credit files after receiving actual notice of such
11    inaccuracies, by failing to conduct lawful reinvestigations, and by failing to maintain
12    reasonable procedures with which to filter and verify disputed information in Plaintiff’s
13    credit files.
14           87.      As a result of this conduct, action and inaction of Defendant TransUnion,
15    Plaintiff suffered damage, and continues to suffer, actual damages, including economic
16    loss, damage to reputation, emotional distress and interference with Plaintiff’s normal
17    and usual activities for which Plaintiff seeks damages in an amount to be determined by
18    the trier of fact.
19           88.      Defendant TransUnion‘s conduct, action, and inaction were willful,
20    rendering Defendant liable to Plaintiff for punitive damages pursuant to 15 U.S.C.
21    §1681n.
22           89.      In the alternative, Defendant TransUnion was negligent, entitling Plaintiff
23    to recover damages under 15 U.S.C. §1681o.
24           90.      Plaintiff is entitled to recover costs and attorneys’ fees from Defendant
25    TransUnion pursuant to 15 U.S.C. §1681n and/or §1681o.
26

27                                            COUNT VII – NCA
28                    Fair Credit Reporting Act Violation – 15 U.S.C. §1681s-2(b)

     Henderson v. National Credit Adjusters, et al.   10                               COMPLAINT
      Case 5:24-cv-00004-MTT Document 1 Filed 01/03/24 Page 11 of 12




1            91.       Plaintiff re-alleges and reaffirms the above paragraphs 1-48 as though fully
2     set forth herein.
3            92.       After receiving the Dispute Letters, NCA failed to correct the false
4     information regarding the Account reporting on Plaintiff’s consumer report.
5            93.       Defendant violated 15 U.S.C. §1681s-2(b) by failing to fully and properly
6     investigate Plaintiff’s disputes of Defendant NCA’s representations; by failing to review
7     all relevant information regarding Plaintiff’s disputes; by failing to accurately respond
8     to credit reporting agencies; by verifying false information; and by failing to
9     permanently and lawfully correct its own internal records to prevent the re-reporting of
10    Defendant NCA’s representations to consumer credit reporting agencies, among other
11    unlawful conduct.
12           94.       As a result of this conduct, action, and inaction of Defendant NCA, Plaintiff
13    suffered damages, and continues to suffer, actual damages, including economic loss,
14    damage to reputation, emotional distress, and interference with Plaintiff’s normal and
15    usual activities for which Plaintiff seeks damages in an amount to be determined by the
16    trier of fact.
17           95.       Defendant NCA’s conduct, action, and inaction were willful, rendering
18    Defendant liable to Plaintiff for punitive damages pursuant to 15 U.S.C. §1681n.
19           96.       In the alternative, Defendant NCA was negligent, entitling Plaintiff to
20    recover damages under 15 U.S.C. §1681o.
21           97.       Plaintiff is entitled to recover costs and attorneys’ fees from Defendant NCA
22    pursuant to 15 U.S.C. §1681n and/or 15 U.S.C. §1681o.
23

24                                           PRAYER FOR RELIEF
25           WHEREFORE, Plaintiff seeks a reasonable and fair judgment against Defendants
26    for willful noncompliance of the Fair Credit Reporting Act and seeks statutory remedies
27    as defined by 15 U.S.C. § 1681 and demands:
28       A. Jury trial;

     Henderson v. National Credit Adjusters, et al.   11                                 COMPLAINT
      Case 5:24-cv-00004-MTT Document 1 Filed 01/03/24 Page 12 of 12




1        B. Actual damages to be proven at trial, or statutory damages pursuant to 15 U.S.C.
2             § 1681n(a)(1)(A), of not less than $100 and not more than $1,000 per violation;
3        C. Punitive damages, pursuant 15 U.S.C. § 1681n(a)(2), for Defendant’s willful
4             violation;
5        D. The costs of instituting this action together with reasonable attorney’s fees
6             incurred by Plaintiff pursuant to 15 U.S.C. § 1681n(a)(3); and
7        E. Any further legal and equitable relief as the court may deem just and proper in
8             the circumstances.
9

10   Respectfully submitted January 3, 2024.
11
                                                      /s/ Tristan W. Gillespie
12
                                                      Tristan W. Gillespie, Esq. (268064)
13                                                    600 Blakenham Ct.
                                                      Johns Creek, GA 30022
14                                                    gillespie.tristan@gmail.com
15                                                    Attorney for Plaintiff

16                                                    Mailing address:
                                                      McCarthy Law, PLC
17
                                                      4250 North Drinkwater Blvd, Suite 320
18                                                    Scottsdale, AZ 85251
                                                      Telephone: (602) 456-8900
19                                                    Fax: (602) 218-4447
20

21

22

23

24

25

26

27

28

     Henderson v. National Credit Adjusters, et al.   12                              COMPLAINT
